       Case 1:24-cv-02063-AHA           Document 10        Filed 04/17/25      Page 1 of 7




                            UNITED STATES DISTRICT COURT
                                       FOR THE
                                DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                               Plaintiff,

                v.                               Criminal No. 1:24-cv-02063-AHA

2,546,415.01 USDT SEIZED FROM TWO
BINANCE ACCOUNTS WITH USER
IDS ENDING IN 9186 AND 5164,

                               Defendant.

    MOTION FOR DEFAULT JUDGMENT AND FINAL ORDER OF FORFEITURE

       By and through its undersigned counsel, the United States of America respectfully moves

for default judgment in this action under Federal Rule of Civil Procedure (“Rule”) 55(b)(2) against

all persons or entities claiming an interest in the Defendant Property for failure to file a timely

claim, answer, or otherwise defend this action after notice was provided pursuant to Rule G of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions.

                                  FACTUAL BACKGROUND

       1.      The Defendant Property constitutes funds proceeds traceable to wire fraud,

conspiracy to commit wire fraud, and property traceable to money laundering, explained in

detail in the Verified Complaint. (ECF No 1).

                                  PROCEDURAL HISTORY

       2.      On July 16, 2024, the United States filed a sealed verified complaint for forfeiture,

alleging that the Defendant Property should be forfeited to the United States pursuant to 18 U.S.C.

§§ 981(a)(1)(A), (C). (ECF No. 1 at 2).

       3.      No other party filed a claim or answer, and the time to do so has expired.
       Case 1:24-cv-02063-AHA            Document 10        Filed 04/17/25      Page 2 of 7




       4.      The United States identified all known potential claimants and gave notice of this

action to the known potential claimant pursuant to the procedures set forth in Rule G(4) of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions

(“Supplemental Rules”). Supplemental Rule G(4)(b) requires the United States “to send notice of

the action and a copy of the complaint to any person who reasonably appears to be a potential

claimant.” Fed. R. Civ. P. Supp. R. G(4)(b).

       5.      Supplemental Rule G(4)(a) also requires the United States to publish notice of the

forfeiture “to an official internet government forfeiture site for at least 30 consecutive days.” Fed.

R. Civ. P. Supp. R. G(4)(a)(iv)(C). Beginning on October 2, 2024, the United States began posting

notice on an internet site, http://www.forfeiture.gov, for thirty consecutive days—i.e., through

October 31, 2024. See Notice & Decl. of Publication (ECF No. 5). Any verified claim in response

to the notice by internet publication had to be filed no later than Saturday, November 30, 2024.

The deadline to file a claim based on notice by publication has passed without any party filing.

       6.      On April 16, 2025, the clerk of the court entered a default as to all potentially

interested parties. (ECF. No. 9).

       7.      No party may contest the United States’ allegations that the Defendant Property is

subject to forfeiture because: (1) there is no claim on record in this action to the Defendant

Property; (2) the time for filing a claim has expired; and (3) no person who reasonably appeared

to be a potential claimant is an infant or incompetent person.

                                          LEGAL STANDARD

       8.      The Court should assume the truth of the well-pleaded factual allegations set forth

in the complaint on a motion for default judgment. See, e.g., Hartford Fire Ins. Co. v. Vista Cont.,

Inc., Civ. A No. 16-0285 (JDB), 2016 WL 6892730, at *2 (D.D.C. Nov. 22, 2016) (“Once default

is entered by the clerk, the court assumes that all allegations in the well-pleaded complaint are true
       Case 1:24-cv-02063-AHA            Document 10        Filed 04/17/25      Page 3 of 7




for the purpose of determining whether to enter default judgment.” (citation omitted)); see also

United States v. 171 “Dehlavieh” Anti-Tank Guided Missiles, Civ. A. No. 20-2299 (JEB), 2021

WL 5310567, at *2 (D.D.C. Nov. 15, 2021). “The determination of whether a default is appropriate

is ‘committed to the sound discretion of the trial court.’” Anti-Tank Guided Missiles, 2021 WL

5310567, at *2 (quoting Lu v. Lezell, Civ. A. No. 11-1815 (JEB), 2013 WL 12183952, at *1 (D.D.C.

July 19, 2013)). The court may enter default judgment “[w]hen a party against whom a judgment

for affirmative relief is sought has failed to plead or otherwise defend as provided by these rules.”

Fed. R. Civ. P. 55(a); Int’l Painters & Allied Trades Indus. Pension Fund v. Zak Architectural Metal

& Glass, LLC, 635 F. Supp. 2d 21, 23 (D.D.C. 2009). This authority applies equally in the context

of a civil forfeiture action. See, e.g., United States v. $23,000 in U.S. Currency, 356 F.3d 157, 163

(1st Cir. 2004) (applying Rule 55 equally in the civil forfeiture context); United States v. $6,500.00

in U.S. Currency, Civ. A. No. 10-0327, 2010 WL 4365886, at *1 (E.D. Tex. Nov. 2, 2010), R. &

R. adopted, 2010 WL 4365890, at *1 (E.D. Tex. Nov. 3, 2010). Default judgment is appropriate

“when the adversary process has been halted because of an essentially unresponsive party . . . [as]

the diligent party must be protected lest he be faced with interminable delay and continued

uncertainty as to his rights.” Jackson v. Beech, 636 F.2d 831, 836 (D.C. Cir. 1980) (quoting H.F.

Livermore Corp. v. Aktiengesellschaft Gebruder Loepfe, 432 F.2d 689, 691 (D.C. Cir. 1970)).

Although there is a general policy favoring decisions on the merits, if potential claimants fail to

respond to a complaint, “a decision on the merits is impractical, if not impossible.” United States

v. Approximately $45,860 in U.S. Currency, Civ. A. No. 14-3801, 2015 WL 1387468, at *4 (N.D.

Cal. Mar. 24, 2015). “A denial of default judgment would prejudice the government in that it

would be required to expend further time and effort in an action where no claimants [ ] have

appeared. Without a default judgment, the government may be without recourse altogether.”
       Case 1:24-cv-02063-AHA           Document 10        Filed 04/17/25      Page 4 of 7




United States v. Real Prop. & Improvements Located at 929 Clay St., Civ. A. No. 15-0010, 2015

WL 3547256, at *3 (N.D. Cal. June 5, 2015).

       9.      The court’s initial inquiry when considering default is (a) whether notice has been

adequately served and (b) if any party filed a timely claim. See United States v. $4,620 in U.S.

Currency, 779 F. Supp. 2d 65, 67 (D.D.C. 2011) (Friedman, J.) (default was appropriate where the

government “provided sufficient notice of the seizure of the defendant property,” and no party filed

a timely claim); see also United States v. Remington, Model 58, 12 Gauge Shotgun, Civ. A. No.

11-0330, 2012 WL 1466684, at *1 (E.D. Tex. Feb. 7, 2012), R. & R. adopted, 2012 WL 1466682

(E.D. Tex. Apr. 26, 2012) (default judgment entered upon showing government’s compliance with

Supplemental Rule G(4)); United States v. 1999 Lexus GS400, Civ. A. No. 05-1139, 2007 WL

1056791, *2-3 (N.D. Cal. Apr. 6, 2007) (“Default may be entered upon a showing that: (a) notice

has been given as required by Admiralty Local Rule 6–1; (b) the time to answer has expired; and

(c) no one has appeared to claim the property.”). Assuming proper notice, the court’s second

inquiry before entering default judgment is whether the complaint establishes a reasonable belief

of forfeitability. See United States v. $1,071,251.44 of Funds Associated with Mingzheng Int’l

Trading Ltd., Civ. A. No. 17-1166 (GMH), 2018 WL 3949962, at *4 (D.D.C. June 29, 2018) (citing

United States v. All Assets Held at Bank Julius Baer & Co., Ltd., 571 F. Supp. 2d 1, 16 (D.D.C.

2008)), R. & R. adopted, Civ. A. No. 17-1166 (KBJ), 2018 WL 3941949 (D.D.C. Aug. 15, 2018).

“Default establishes the defaulting party’s liability for the well-pleaded allegations of the

complaint.” Boland v. Smith & Rogers Constr. Ltd., 201 F. Supp. 3d 144, 147 (D.D.C. 2016); see

also Int’l Painters & Allied Trades Indus. Pension Fund v. Dettrey’s Allstate Painting, LLC, 763

F. Supp. 2d 32, 34 (D.D.C. 2011) (same; citing Adkins v. Teseo, 180 F. Supp. 2d 15, 17 (D.D.C.

2001)). A court must treat “the factual allegations in a complaint, other than those as to damages
       Case 1:24-cv-02063-AHA           Document 10        Filed 04/17/25      Page 5 of 7




. . . as conceded by the defendant.” DIRECTV, Inc. v. Pepe, 431 F.3d 162, 165 (3d Cir. 2005); see

also Int’l Painters & Allied Trades Indus. Pension Fund v. R. W. Amrine Drywall Co., Inc., 239 F.

Supp. 2d 26, 30 (D.D.C. 2002) (the “defaulting defendant is deemed to admit every well-pleaded

allegation in the complaint” upon entry of default by the clerk (citation omitted)).

       10.     The United States hereby seeks a Default Judgment against all parties. Upon entry

of default by the Clerk of the Court, the “defaulting defendant is deemed to admit every well-

pleaded allegation in the complaint.” Int’l Painters, 239 F. Supp. 2d at 30 (citation omitted). Thus,

the entry of a default judgment against the Defendant Property is supported under the

circumstances of this case. See United States v. 8 Gilcrease Lane, 638 F.3d 297, 299 (D.C. Cir.

2011) (upholding district court’s order for default judgment and final order of forfeiture based on

the ground that no claimants contesting forfeiture remained in the case). Indeed, the Clerk of the

Court “must enter” default when there has been a failure to plead timely or otherwise defend an

action within the time fixed by law. Fed. R. Civ. P. 55(a). Moreover, the Civil Asset Forfeiture

Reform Act of 2000, codified at 18 U.S.C. § 983(a)(4)(A), mandates the filing of a claim within

thirty days of the service of the United States’ Verified Complaint. Id.

The United States Satisfied the Applicable Notice Requirements

       11.     The Supplemental Rules govern civil forfeiture actions in rem arising from a federal

statute. See Fed. R. Civ. P. Supp. R. A(1)(B). The Rules also apply except to the extent they are

inconsistent with the Supplemental Rules. See Fed. R. Civ. P. Supp. R. A(2). Supplemental Rule

G(4) governs the process by which the United States must serve notice of the complaint. Notice is

required to the public via publication, as well as to potential claimants via direct notice. See Fed.

R. Civ. P. Supp. R. G(4).
       Case 1:24-cv-02063-AHA            Document 10        Filed 04/17/25      Page 6 of 7




       12.     On October 2, 2024, the United States began posting notice on an internet site,

http://www.forfeiture.gov, for thirty consecutive days ending on October 31, 2024. Any verified

claim in response to the notice by internet publication had to be filed no later than November 30,

2024. See Fed. R. Civ. P. Supp. R. G(5)(a)(ii)(B). No claims based on publication were filed.

       13.     Supplemental Rule G also requires that the United States send direct notice “to any

person who reasonably appears to be a potential claimant on the facts known to the government.”

Fed. R. Civ. P. Supp. R. G(4)(b)(i). The notice must be sent by means “reasonably calculated to

reach the potential claimant.” Fed. R. Civ. P. Supp. R. G(4)(b)(i)(A). In this case, the United States

fully satisfied the Supplemental Rule G requirements for notice by publication and direct notice.

The Verified Complaint for Forfeiture In Rem States a Claim for Relief

       14.     The well-pleaded facts in the Verified Complaint support a reasonable belief that

the Defendant Property is forfeitable. See United States v. Oil Tanker Bearing Int’l Org. No.

9116512 (“Grace I”), 480 F. Supp. 3d 39, 41 (D.D.C. 2020) (Boasberg, J.) (granting government’s

motion for default judgment for forfeiture of tanker, petroleum onboard that tanker, and funds as

assets of or sources of influence over the IRGC). The Verified Complaint describes in detail how

the Defendant Property consists of proceeds from wire fraud, conspiracy to commit wire fraud,

and is property involved in or traceable to money laundering. See generally ECF No. 1; see also

Grace I, 480 F. Supp. 3d at 42; Order, United States v. All Petrol.-Prod. Cargo Aboard the Suez

Rajan, Civ. A. No. 23-0882 (CJN) (D.D.C. Apr. 30, 2024), ECF No. 15 (granting default judgment

of Iranian-sourced petroleum product); United States v. All Petrol.-Prod. Cargo Aboard the Bella,

Civ. A. No. 20-1791 (JEB), 2021 WL 4502056, at *1 (D.D.C. Oct. 1, 2021) (same).

                                          CONCLUSION

       Accordingly, upon consideration of the record in this case, including a showing of

compliance with applicable rules regarding service of process and notice by publication, and
        Case 1:24-cv-02063-AHA          Document 10       Filed 04/17/25       Page 7 of 7




default having been entered by the Clerk of the Court, the United States respectfully requests that

this Court order default judgment against all potential claimants and that the Defendant Property

be forfeited.




                                                     Respectfully submitted,

                                                     EDWARD R. MARTIN, JR
                                                     United States Attorney

                                                     /s/ Rick Blaylock, Jr.
                                                     Rick Blaylock, Jr.
                                                     TX Bar No. 24103294
                                                     Assistant United States Attorney
                                                     United States Attorney’s Office
                                                     601 D Street, N.W.
                                                     Washington, D.C. 20001
                                                     (202) 252-6765
                                                     rick.blaylock.jr@usdoj.gov
